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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

DEANA BOSBYSHELL                                  §    Case No. 4:15-cv-229
                                                  §
V.                                                §    Jury Demanded
                                                  §
GENERAL INSURANCE COMPANY OF                      §    PLAINTIFF’S FIRST
AMERICA                                           §    AMENDED COMPLAINT

                                FIRST AMENDED COMPLAINT

       Deanna Bosbyshell (Plaintiff) files her first amended complaint against General Insurance

Company of America (Defendant), and for cause of action would show:

       1.      This is an action for affirmative relief arising out of an insurance carrier’s failure to

timely pay undersinured motorists benefits to its insured.

       2.      Plaintiff is a natural person residing in Lamar County, Texas. Plaintiff is a Texas

Citizen.

       3.      Defendant has entered an appearance in the captioned action.

       4.      Plaintiff seeks monetary relief not exceeding $30,000.00, exclusive of interest and

costs. The damages sought are not within the jurisdictional limits of the court. This Court now lacks

subject matter jurisdiction over this action under 28 U.S.C. §1332. Complete diversity exists

between the parties.

       5.      Venue is proper in the United States District Court of the Eastern District of Texas

under 28 U.S.C. § 1391(b)(2).

       6.      On June 7, 2012, the Plaintiff was a defined “insured” under a personal auto insurance

policy issued by Defendant (General Auto Policy). On June 7, 2012, a motor vehicle operated by


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Stacey York Kennedy accidently collided with a vehicle owned and used by the Plaintiff. The

Plaintiff sustained “bodily injury” as defined under the General Auto Policy because of the accident

involving Stacey York Kennedy. The Plaintiff was legally entitled to recover from Stacey York

Kennedy for her bodily injury damages caused by the accident. Stacey York Kennedy’s liability for

the Plaintiff’s’ “bodily injury” damages arose out of the ownership, maintenance or use of a motor

vehicle operated by Stacey York Kennedy.

       7.      When the accident occurred on June 7, 2012, State Farm Insurance insured Stacey

York Kennedy and the vehicle she was operating. Stacey York Kennedy improperly drove her

vehicle into the lane of traffic where the vehicle occupied by the Plaintiffs and insured by Defendant

was located. The vehicle occupied by the Plaintiff when the accident occurred was a 2006 Toyota

Tundra owned by Deana Bosbyshell, a defined “covered auto” under the General Auto Policy.

Stacey York Kennedy’s vehicle collided with the vehicle occupied by the Plaintiff because Stacey

York Kennedy failed to properly maintain her vehicle in her lane of traffic. The police report listed

Stacey York Kennedy’s conduct as the sole contributing factor for the accident that caused bodily

injury to the Plaintiff. Stacey York Kennedy’s acts and omissions, singularly or in combination,

constituted negligence that proximately caused the accident and the Plaintiff’s injuries and damages

as described below.

       8.      The Plaintiff was occupying a defined “covered auto” when the accident occurred.

       9.      Plaintiff brought suit against Stacey York Kennedy in Cause No. 82827 in the 62nd

Judicial District Court of Lamar County, Texas. The State Farm policy of insurance in effect for

Stacey York Kennedy had liability limits of $50,000.00 per claimant per occurrence. There were no

other applicable liability bonds or policies in effect for Stacey York Kennedy or the vehicle she was

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operating when the accident occurred. Plaintiff, with permission from Defendant, made demands

upon Stacey York Kennedy and her insurance carrier, State Farm, for the limit of the applicable auto

liability policy. A tentative settlement was made between the Plaintiff as Defendant’s “insured” and

Stacey York Kennedy’s insurer for the liability limits of State Farm’s policy. This settlement

exhausted the applicable liability limits for Stacey York Kennedy. Defendant consented to Plaintiff

settling with Stacey York Kennedy for the applicable limits of liability on the State Farm policy in

effect for Stacey York Kennedy.

       10.     As a result of Stacey York Kennedy’s negligence, the Plaintiff suffered severe bodily

injuries, past and future medical expenses, past and future physical disfigurement, past and future

physical pain and suffering; past and future mental anguish, and past and future physical impairment,

by way of example.

       11.     The past medical expenses incurred were necessary for the care and treatment of the

injuries sustained by the Plaintiff, and the charges made and to be made were the usual and

customary charges for such services in Lamar County, Texas. The Plaintiff will require further

medical care and attention and will necessarily incur reasonable expenses in the future for such

medical needs. Similarly, all past and future physical disfigurement, past and future physical pain

and suffering; past and future mental anguish, and past and future physical impairment have occurred

or in all reasonably likelihood will occur and arise out of the June 7, 2012 accident.

       12.     Having determined that Stacey York Kennedy was, at the time of the occurrence

described above, operating an uninsured motor vehicle, as that term is defined in the General Auto

Policy, the Plaintiff timely and properly notified Defendant of the accident. The Plaintiff has fully

complied with all the conditions of the General Auto Policy prior to bring this suit. All conditions

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precedent have been performed or have occurred. Nevertheless, General Auto has failed and refused,

and still fails and refuses, to pay the Plaintiff appropriate benefits under the General Auto Policy, as

it is contractually required to do.

                                            BAD FAITH

          13.   All prior paragraphs are incorporated.

          14.   Defendant failed to conduct a reasonable and proper investigation of the plaintiff’s

claim. Plaintiff has supplied the Defendant the medical records setting forth treatment Plaintiff has

received and will need because of the accident in issue. Defendant has had access to all the

Plaintiff’s medical records attributable to the accident in issue. Defendant knows that the Plaintiff

needed additional surgery and yet has withheld settlement of the UIM claim after the Defendant

agreed to Plaintiff’s settling with Kennedy for available policy limits under Kennedy’s auto liability

policy.

          19.   Defendant knew or should have known that it was reasonably clear that Plaintiff’s

UIM claim was covered and should be paid. Defendant has continued to refuse to pay Plaintiff’s

UIM claim after approving the settlement with Kennedy and after paying PIP benefits without any

reservations. Defendant had no reasonable basis for delaying payment of the UIM claim. Defendant

and its adjustor(s) know that Plaintiff’s claim is compensable under the UIM coverage part and

nevertheless have made a conscious decision not to pay the claim.

          20.   Plaintiff complied with all terms under the Defendant policy of insurance for recovery

of UIM benefits. Plaintiff is entitled to recover its compensatory damages caused by Defendant’s

bad faith in failing to pay a first party claim. The UIM benefits total $30,000.00. Plaintiff stipulates

that she will limit her bad faith claim to the $30,000.00 in UIM benefits plus interest and costs.

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        WHEREFORE, Plaintiff respectfully requests that:

        A.     This Court grant Judgment against Defendant in a sum not to exceed $30,000.00,

before costs and interest;

        B.     This Court award the Plaintiff prejudgment interest, and postjudgment interest as

provided by law;

        C.     This Court award the Plaintiff her costs of suit; and

        D.     This Court award the Plaintiff such other and further relief to which the Plaintiff may

be entitled.

                                              Respectfully submitted,

                                              BURT BARR & ASSOCIATES, L.L.P.

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                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing first amended complaint was served on
all counsel on the date of this document’s filing by ECF, pursuant to FRCP 5.


                                                           /s/ M. Forest Nelson
                                                      M. Forest Nelson




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